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                                     IN THE UNITED STATES DISTRICT COURT 
 
                                           DISTRICT OF SOUTH CAROLINA 
 
                                                 BEAUFORT DIVISION 
 
Ruth Simmons,                                                                         9:08-3511-SB
                                                                 ) Civil Action No.: ___________________ 
                                                                 )
                                                      Plaintiff, )                      COMPLAINT 
                                                                 )                (Jury Trial Requested) 
                         vs.                                     )
                                                                 )
Beaufort, Jasper, Hampton Comprehensive Health  )
Services, Inc. a/k/a Beaufort‐Jasper‐Hampton                     )
Comprehensive Health Services, PO Incorporated,  )
                                                                 )
                                                 Defendant. )
 
        The Plaintiff, complaining of the Defendants, does hereby respectfully allege as follows: 

         1.       The Plaintiff, Ruth Simmons, is a citizen and resident of Beaufort County, South Carolina. 

         2.       The Defendant, The United States of America, is the proper party to this action brought 

pursuant to the Federal Tort Claims Act, 28 U.S.C. § 2671, et. seq.  

         3.       Upon  information  and  belief,  Beaufort,  Jasper,  Hampton  Comprehensive  Health 

Services,  Inc.  a/k/a  Beaufort‐Jasper‐Hampton  Comprehensive  Health  Services,  PO  Incorporated 

(“Comprehensive  Health”)  is  a  federally  supported  health  center  and  Dr.  Annette  Bey  (  “Bey”)  is  a 

physician  employed  by  Comprehensive  Health,  together  with  Patricia  A.  Shockey  (“Shockey”),  T.  Ray 

Sherbert (“Sherbert”) and John Doe (“Doe”). 

         4.       The  Federally  Supported  Health  Centers  Assistance  Act  of  1992  (Pub.  L.  102‐501) 

provides  coverage  to  federally  supported  health  care  centers  and  its  employees  for  acts  or  omissions 

which  occur  on  or  after  January  1,  1993,  or  when  the  health  center  is  deemed  eligible  for  coverage, 

whichever  is  later.    Comprehensive  Health  is  a  federally  supported  health  center  and  was  eligible  for 

federal  tort  claim  act  coverage  prior  to  any  acts  giving  rise  to  liability  in  this  complaint.    Therefore, 

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Comprehensive  Health,  Bey,  Shockey,  Sherbert,  and  Doe  are  deemed  to  be  Public  Health  Service 

employees covered by 42 U.S.C. § 233 (a) for acts and omissions which occurred to Ruth Simmons.  At all 

times mentioned herein, Comprehensive Health, Bey, Shockey, Sherbert, and Doe were acting within the 

course and scope of their employment and/or agency with Comprehensive Health when rendering care 

to Ruth Simmons. 

         5.       Though not a party to this action,  Beaufort Memorial Hospital ( "Beaufort") is an entity 

incorporated  under  the  laws  of  the  State  of  South  Carolina  and  is  licensed  and  doing  business  in  the 

County of Beaufort, State of South Carolina.   Beaufort is currently a defendant in South Carolina Civil 

Case  Number  07‐CP‐07‐3018  currently  pending  in  the  Beaufort  County  Court  of  Common  Pleas.    The 

Plaintiff was forced to file a Complaint against Beaufort in State court as a result of an impending statute 

of limitation, yet Plaintiff is informed and does believe that Beaufort should be added as a party to this 

Complaint as a matter of pendant jurisdiction. 

         6.       Though  not  parties  to  this  action,  Phillip  Blalock,  MD  (“Blalock”)  and  William  Jackson, 

MD  (“Jackson”),  upon  information  and  belief,  are  citizens  and  residents  of  Beaufort  County,  South 

Carolina.    The  Plaintiff  was  forced  to  file  a  Complaint  against  Blalock  and  Jackson  in  State  court  as  a 

result of an impending statute of limitation, yet Plaintiff is informed and does believe that Blalock and 

Jackson should be added as parties to this Complaint as a matter of pendant jurisdiction. 

         7.       This Federal District Court has jurisdiction of this  action pursuant to its federal question 

jurisdiction as provided for by 28 U.S.C. §§ 1331 and 1346 and in compliance with 28 U.S.C. §§1346(b), 

2671‐2680  et  seq.,  commonly  known  as  the  "Federal  Tort  Claims  Act,"  which  vests  exclusive  subject 

matter jurisdiction of Federal Tort Claims litigation in the Federal District Court. 

         8.       Venue is proper in this district and division pursuant to 28 U.S.C. § 1391(b)(2), because a 

substantial part of the events or omissions giving rise to this claim occurred in this district. 


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        9.         The  Defendant  has  the  right  or  power  to  direct  and  control  the  manner  in  which  its 

employees and/or agents provide medical care and operate the business of delivering health care for a 

fee through its hospital and practice, including but not limited to Bey, Shockey, Sherbert, and Doe. 

        10.        The  Defendant  has  a  non‐delegable  duty  to  provide  physicians  and  staff  adequately 

trained  and  able  to  provide  any  necessary  and  reasonable  medical  care  to  patients  at  its  respective 

hospitals. 

        11.      Upon information and belief, the Defendant has attending physicians, nurses and other 

staff  who  are  its  agents,  servants,  and  employees,  and  all  acts  or  omissions  complained  of  in  this 

Complaint, performed by the agents, servants, and employees occurred during the course and scope of 

such agency and/or employment and are therefore imputed to the Defendant. 

        12.      At all times relevant to this action, physicians, nurses, residents, interns and staff health 

care  providers  caring  for  Ruth  Simmons  were  employees  and/or  agents  of  the  Defendant,  or  were 

apparent  agents  and  were  acting  within  the  course  and  scope  of  its  employment  and/or  agency  or 

apparent agency.  

        13.      Ruth  Simmons  and  members  of  her  family  justifiably  and  reasonably  believed  that 

certain physicians, nurses, residents, interns and the other staff health care providers of the Defendant 

were agents and/or employees of the Defendant. 

        14.      On  or  about  December  14,  2004,  Ruth  Simmons  had  an  abnormal  breast  exam, 

specifically  of  her  left  breast,  during  her  gynecological  examination  with  Comprehensive  Health 

performed  by  Doe  and/or  Bey.    Ruth  Simmons  had  not  had  a  previous  abnormal  breast  exam.  Doe 

and/or  Bey  requested  a  “screening  mammogram”  even  though  the  standard  of  care  as  a  result  of  an 

abnormal  finding  required  a  diagnostic  mammogram  and  biopsy  be  ordered,  as  breast  cancer  is 

common  and  may  mimic  benign  disorders,  the  approach  to  all  breast  symptoms  and  findings  is  to 


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conclusively exclude cancer.   

        15.      The  screening  mammogram  was  performed  on  the  same  date,  by  Comprehensive 

Health  technician  Shockey  and  interpreted  by  Comprehensive  Health  radiologist  Sherbert.    The  report 

read, “views of both breasts reveal dense breast  parenchyma bilaterally which limits  the  sensitivity of 

the examination and could obscure a mass if present.  I see no dominant mass.”  This was noted to be a 

baseline  screen,  and  there  was  no  noted  communication  to  the  radiologist  that  the  patient  had  an 

abnormal breast exam.  Mammogram results should not alter the decision to perform a biopsy. 

        16.      Ruth  Simmons  returned  on  March  14,  2005,  to  Comprehensive  Health,  for  the 

mammogram  results  and  was  seen  by  Bey.    Bey  ordered  a  breast  ultrasound,  when  she  should  have 

ordered a biopsy. 

        17.      The  breast  ultrasound  was  performed  on  April  5,  2005,  at  Beaufort  for  “lump  in  left 

breast,” by Jackson and was signed by Blalock.  The impression read, “Innumerable fairly well defined 

discrete hypoechoic nodular densities throughout the breast with markedly increased blood throughout 

the  breast  particularly  associated  with  these  nodules.  The  exact  etiology  remains  elusive.  Correlation 

with  the  patient's  mammogram  may  be  useful.  Whether  these  represent  some  type  of  varicosity  it  is 

difficult to discern. Consideration for surgical consult might be given as well.” The report is also noted to 

read, “CC: BEY, ANNETTE, MD.” 

        18.      Amy Wilson (“Wilson”), a Physician Services Analyst at Beaufort, has avered under oath 

that the results of the report were successfully delivered to Bey on April 7, 2005. 

        19.      No record of the report appears in Comprehensive Health’s files or records. 

        20.      Bey failed to follow up on her order for an ultrasound, failed to obtain the results of the 

ultrasound that she ordered, failed to realize that it had not been sent to her, and further continued to 

fail to order a biopsy. 


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        21.     Ruth Simmons never received a follow up call from Bey or Comprehensive Health, nor 

from Jackson, Blalock or Beaufort Memorial concerning her condition. 

        22.     Ruth  Simmons  actually  made  a  follow  up  appointment  on  her  own  on  and  was  finally 

seen  by  Benjamin  Gaines,  MD,  (“Gaines”)  and  Comprehensive  Health  on  February  23,  2006.    Gaines 

noted, “LT breast mass x 1 year, increased in size.”  Gaines further noted, “nodular mass 3 x 2 cm/fixed” 

Gaines noted that he reviewed the left breast ultrasound with the patient and also noted her left breast 

mass  as  “suspicious.”  Gaines  ordered  a  diagnostic  mammogram  and  an  appointment  for  a  surgical 

biopsy with Gordon E. Krueger, MD (“Krueger”) of Coastal Carolina Surgical Associates, PA. 

        23.     Gaines’ request noted, “45 yr old female with LT breast mass x 1 year. Mass nodular ~ 

3x2cm, please evaluate.” 

        24.     Another mammogram was performed, this one at Beaufort Memorial, on February 23, 

2006.    The  report  noted  that  a  marker  was  placed  over  the  area  of  palpable  abnormality  in  the 

inferomedial  left  breast,  and  compression  spot  images  were  obtained  over  the  area  of  palpable 

abnormality. The impression read: “THE PALPABLE ABNORMALITY CORRESPONDS TO A 3 TO 4 CM AREA 

OF INCREASED DENSITY SOMEWHATNODULARAND WITH ILL DEFINED MARGINS POSTERIORLY. BREAST 

ULTRASOUND AND SURGICAL CONSULTATION ARE ADVISED.” The report also notes that “prior films are 

at Comp Health and are not immediately available.”  It was reported by Blalock and signed by Jackson. 

        25.     Krueger,  on  March  3,  2006,    wrote  back  to  Gaines  and  noted,  “[i]t  is  certainly  of 

significant concern with this mass appearing to be fixed to the chest wall...we will rapidly need to get an 

aspiration or core biopsy done in the next few days to prove that this is probably an advanced left breast 

cancer.” 

        26.     Another  ultrasound  was  performed  on  March  3,  2006.    The  report  read,  “THERE  IS  A 

MULT‐LOBULAR  SOLID  MASS  IN  THE  RETROAREOLAR  REGION  HAVING  INCREASED  IN  SIZE  COMPARED 


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TO 04/05/05. BIOPSY IS ADVISED.”  This was also reported by Blalock and signed by Jackson. 

         27.      Krueger noted on his March 3, 2006, progress notes, in part, “HIGHLY SUSPICIOUS MASS 

LEFT BREAST WITH SKIN FIXATION ACCESSORY BREAST NIPPLES BILATERALLY.” 

         28.      Ruth Simmons followed up at Comprehensive Health on March 7, 2006, and the notes 

read, “to see Dr. Krueger today and will probably have excision.”   

         29.      Ruth  Simmons  subsequently  underwent  a  vacuum  assisted  core  biopsy  and  clip 

localization at Beaufort Memorial on March 9, 2006, which revealed infiltrating ductal carcinoma. 

         30.      Ruth  Simmons  further  accepted  a  plan  for  treatment  with  neoadjuvant  chemotherapy 

prior to having a primary excision. 

         31.      Kreuger  referred  Ruth  Simmons  to  Sea  Island  Cancer  Center  for  neoadjuvant 

chemotherapy and placed a right subclavian Port‐A‐Cath on March 23, 2006 to facilitate chemotherapy. 

         32.      The  exam  of  Majd  Chahin,  MD  at  the  Sea  Island  Cancer  Center  on  April  12,  2006 

revealed  “left  breast  positive  for  5x4  ~  cm  mass  fixed  to  the  skin  below  the  left  areola  with  positive 

lymph nodes in the left axilla.” His impression was “Stage III breast cancer in a young female without any 

significant past medical history and subcoronallymph node, etiology unclear.”  

         33.      Ruth  Simmons  began  neoadjuvant  chemotherapy  on  April  12,  2006.  Listed  in  order  of 

occurrence,  her  complications  from  chemotherapy  treatment  from  April  12,  2006,  until  her  surgical 

admission  for  modified  left  radical  mastectomy  on  December  7,  2006  were:  back  pain;  nausea; 

decreased appetite; dry skin; movement hindered by Port‐A‐Cath site irritation; fatigue; arthralgias; heat 

intolerance; hospitalization at Beaufort Memorial for severe extremity pain and fever; persistent aches 

unresponsive to Percocet; right axilla cyst; hospitalization at Beaufort Memorial for neutropenic fever; 

significant edema of lower extremities; weakness; and others. 

         34.      Chemotherapy agents utilized on Ruth Simmons during this time included: four cycles of 


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Adriamycini Cytoxan; four cycles of Taxotere; two cycles of Gemzarl Navelbine and others. 

        35.      Ruth  Simmons  was  admitted  to  Beaufort  Memorial  on  December  7,  2006  for  “Left 

axillary sentinel node attempted biopsy followed by left modified radical mastectomy.” She proceeded 

to have marked postoperative swelling and was returned to the operating room on December 8, 2006, 

for  evacuation  of  left  mastectomy  hematoma  with  estimated  blood  loss  of400  ml  of  clot.    She 

subsequently received a blood transfusion of two units.  She was discharged on December 12, 2006. 

        36.      Ruth  Simmons  had  a  Consult  with  Dr.  Cynthia  J.  Bryant,  Keyserling  Cancer  Center  for 

radiation  treatment  at  Beaufort  Memorial  Hospital, on  January  9,  2007,  which  revealed  a diagnosis of 

“invasive ductal carcinoma of the left breast, multicentric, Stage III.” 

        37.      Ruth  Simmons  continues  to  treat  with  Sea  Island  Cancer  Center  and  Krueger,  and  has 

undergone additional rounds of chemotherapy.  

        38.      Ruth Simmons, if treatment had been undertaken immediately and the standard of care 

been met, would have had Stage 0 or Stage I cancer, and would have survived and lived a normal life 

span.  As a direct and proximate result of the Defendant’ deviations and delays, Ruth Simmons now has 

virtually no chance of long term survival of her advanced breast cancer. 

                                      FOR A FIRST CAUSE OF ACTION 
                               (Professional Negligence / Negligence per se) 

        39.      The Plaintiff repeats and realleges all prior Paragraphs above as fully as if repeated in its 

entirety in this Paragraph. 

        40.      The Defendant, by and through its agents and/or employees, did undertake the duty to 

render  medical  care  to  Ruth  Simmons  in  accordance  with  the  prevailing  and  acceptable  standards  of 

care  for  health  care  facilities,  nurses,  doctors  in  the  national  community  and,  at  a  minimum,  in 

accordance  with  the  generally  recognized  and  accepted  practices  and  procedures  that  would  be 




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followed  by  average,  competent  practitioners  in  the  Defendant’  field  of  medicine  under  the  same  or 

similar circumstances. 

        41.      While  Ruth  Simmons  was  under  the  care  of  the  Defendant,  it  departed  from  the 

prevailing  professional  standards  of  care  and  recognized  and  generally  accepted  standards  and 

treatment  of  Ruth  Simmons  and  were  thereby  negligent,  careless,  grossly  negligent,  reckless,  and 

negligent per se and acted in violation of the duties owed to Ruth Simmons in that it committed one or 

more  of  the  following  acts  of  omission  or  commission,  any  or  all  of  which  were  departures  from  the 

prevailing professional standards of care: 

                 a. in  failing  to  ensure  that  Ruth  Simmons  was  properly  and  adequately  evaluated, 
                    monitored, treated and thoroughly screened for signs of breast cancer; 
                  
                 b. in failing to order a diagnostic mammogram upon the presence of a suspicious mass 
                    and in failing to order a biopsy; 
 
                 c. in failing to conduct the needed assessments; 
                  
                 d. in failing to follow up on tests ordered and in failing to communicate the results of 
                    tests to other care providers and Ruth Simmons; 
 
                 e. in failing to supervise physicians, nurses, staff, students and residents; 
 
                 f.   in  failing  to  have  in  place  proper  and  adequate  policies,  procedures  and  protocols 
                      for management of patients such as Ruth Simmons’, or, if such policies, procedures 
                      and protocols were in place, in failing to use due care to enforce them; 
 
                 g. in failing to properly have in place and adequate policies, procedures and protocols 
                    for  exchange  of  test  results  and  communication  of  the  same,  if  such  policies, 
                    procedures and protocols were in place, in failing to use due care to enforce them; 
 
                 h. in failing to properly have in place and adequate policies, procedures and protocols 
                    for  knowing  when  to  order  appropriate  tests  and  make  appropriate  referrals  or,  if 
                    such policies, procedures and protocols were in place, in failing to use due care to 
                    enforce them; 
 
                 i.   in failing to properly have in place and adequate policies, procedures and protocols 
                      for  knowing  when  to  utilize  proper  studies  or,  if  such  policies,  procedures  and 
                      protocols were in place, in failing to use due care to enforce them;  
                   

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                 j.   in failing to timely administer orders of the physicians;  
 
                 k. in failing to properly train and educate its nurses and staff or, if properly trained and 
                    educated, in failing to allow its nurses and staff to exercise independent judgment 
                    and skill and the failure of nurses and staff to exercise chain of command;  
 
                 l.   in failing to properly monitor and respond to Ruth Simmons’ symptoms;   
 
                 m. in  failing  to  make  proper  and  timely  notification  of  Ruth  Simmons’  deteriorating 
                    condition to the appropriate physicians and administration personnel;  
 
                 n. in  failing  to  have  appropriate  policies,  procedures,  and  protocols  to  ensure  that 
                    patients  with  conditions  similar  to  Ruth  Simmons  are  treated  in  an  appropriate 
                    manner, or if the Defendant had such policies, procedures, and protocols, in failing 
                    to ensure such were carried out and followed; 
 
                 o. in failing to ensure that proper diagnostic procedures were conducted on the Ruth 
                    Simmons,  given  the  totality  of  the  circumstances;  in  failing  to  ensure  that  the 
                    independent  contractor  physicians  in  the  hospital  performed  the  proper  and 
                    appropriate  medical  treatment  on  the  patient  for  which  the  hospital  is  liable  as  a 
                    result of the non‐delegable duty of these physicians; 
 
                 p. in failing to aggressively treat Ruth Simmons’ condition; 
 
                 q. in  failing  to  detect  signs  of  Ruth  Simmons’  deteriorating  condition  and  to  take 
                    proper precautions in treating her deteriorating condition; 
 
                 r.   in failing to properly diagnose and treat Ruth Simmons; 
 
                 s. in failing to provide proper, diligent and timely follow‐up care; 
 
                 t.    in failing to properly diagnose and treat the patient; 
 
                 u. in failing to transfer care of patient to other, more qualified, medical personnel; 
 
                 v. in violating the standards, laws, and regulations of the United States and the State 
                    of South Carolina; 
 
                 w. and, in such other particulars as may be ascertained through discovery procedures 
                     undertaken pursuant to South Carolina Rules of Civil Procedure. 
                  
        42.      Further, to the extent that the Defendant has violated its own policies and procedures, 

or any state or federal laws or regulations or other standards, these standards were specifically enacted 

for  the  protection  of  a  class  of  persons  which  includes  Ruth  Simmons,  and  the  Defendant’s  failure  to 

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comply  with  the  same  constitutes  a  prima  facie  case  of  negligence  per  se.    If  the  Defendant  had  not 

committed the acts and omissions described above and had complied with the standard of care, Ruth 

Simmons would not have suffered the other damages described in this Complaint. 

         43.      As  a  direct  and  proximate  result  of  the  negligence,  carelessness,  gross  negligence, 

recklessness  and  departure  from  the  professional  standards  of  care  and  the  generally  recognized 

practices  and  procedures  was  the  proximate  cause  of  the  Plaintiff’s  alleged  injuries  and  damages  by 

agents  and  employees  of  the  Defendant,  Ruth  Simmons  suffered  and  continues  to  suffer  from  severe 

debilitating  breast  cancer  and  has  virtually  no  chance  for  long  term  survival  and  a  normal  life 

expectancy, which she would have had but for the Defendant’s actions, she now has permanent injuries, 

permanent  impairment,  serious  medical  complications  which  required  and  will  require  extensive 

medical  care  and  treatment  and  which  involved  and  will  involve  significant  pain  and  suffering,  mental 

and emotional distress, psychological trauma, embarrassment, humiliation, disfigurement, alteration of 

lifestyle, medical bills, lost wages, life care costs and expenses and loss of the enjoyment of life, together 

with such other injuries and monetary damages, including but not limited to continued medical care, for 

which  the  Plaintiff  is  entitled  to  recover  against  the  Defendant,  an  amount  of  actual,  and  any  other 

recoverable damages to be determined by a jury and/or the Court at the trial of this action. 

 

         WHEREFORE, plaintiffs  respectfully pray unto the Court for the following relief: 

         A.       Actual damages against the United States of America in the amount of $77,000,000; 

         B.       Costs in this action; and,  

         C.       Such other relief as the Court deems just and proper. 

          

                                                       
                                                       

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                                            HUGHEY LAW FIRM LLC 
                                             
                                             
                                                    s/ D. Nathan Hughey         __ 
                                            D. Nathan Hughey (Fed. ID 7635) 
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                                            Attorneys for Plaintiff 
 
_____10/16__________, 2008 
Mount Pleasant, South Carolina 
        




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